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                                           ORDERED.
   Dated: May 03, 2023




                                            Lori      WNaughan
                                            United States Bankruptcy Judge


                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
                                      www.flmb.uscourts.gov



In re:

ANGELA MARIA SEDA BORRERO,                                    Case No. 6:22-bk-04290-LVV
                                                              Chapter 7

                       Debtor.
__________________________________/


                              ORDER APPROVING EMPLOYMENT
                         OF SPECIAL COUNSEL TO CHAPTER 7 TRUSTEE

         This matter came on for consideration of the Application For Approval of Employment of

Special Counsel to Chapter 7 Trustee (the “Application”) (Doc. No. 19) filed by Gene T. Chambers,

Chapter 7 Trustee, to hire Kenneth J. McKenna and the law firm of Dellecker Wilson King McKenna

Ruffier & Sos LLP as special counsel for the bankruptcy estate. Upon review of the Application and

the record, it is

         ORDERED:

         1.         The Application (Doc. No. 19) is APPROVED.

         2.         Applicant may employ Kenneth J. McKenna and the law firm of Dellecker Wilson King

McKenna Ruffier & Sos LLP as special counsel as requested in the Application.

         3.         Compensation will be determined later in accordance with 11 U.S.C. §330. Any

compensation using an hourly rate or contingency amount in the Application is not guaranteed and is


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subject to review. The determination of the Bankruptcy Court regarding fees paid to Special Counsel

will be final and will supercede any state court fee award or other agreements.

       4.      No payment may be made to Kenneth J. McKenna and the law firm of Dellecker Wilson

King McKenna Ruffier & Sos LLP, special counsel absent submission of an application for

compensation and Court approval thereof.


Attorney, Cynthia E. Lewis, is directed to serve a copy of this order on interested parties who are non-
CM/ECF users and file a proof of service within 3 days of entry of the order.




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